Case 1:18-cv-12547-NMG Document 86 Filed 12/04/23 Page 1 of 2

United States District Court
District of Massachusetts

John Doe, Father and Next Friend
of A, B and C,

Plaintiff, Civil Action No.

18-12547-NMG
Vv.

Linda Spears et al.,

Defendants.

ee et ete et te ete et et

MEMORANDUM & ORDER
GORTON, J.

By its memorandum and order entered October 27, 2023,
(Docket No. 85) this Court ordered plaintiff to file an amended
complaint or seek final judgment on or before Thursday, November
9, 2023. As of this date, plaintiff has not pursued either
course of action.

The Court allowed defendants’ motion to dismiss but
apprised plaintiff of his opportunity to file a second amended
complaint concerning a procedural due process claim in
September, 2022. Shortly thereafter, plaintiff filed an appeal
of the dismissed claims which was dismissed by the First Circuit
Court of Appeals as premature in July, 2023. Plaintiff has had
ample time to file a second amended complaint and has failed to

comply with this Court’s prior order.
Case 1:18-cv-12547-NMG Document 86 Filed 12/04/23 Page 2 of 2

Accordingly, the action will be DISMISSED.
So ordered.
LLenicl Ord

Nathaniel M. Gorton
United States District Judge

Dated: December , 2023
